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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                  CASE NO. 9:21-CV-81281-DMM

   NELSON FERNANDEZ,

                  Plaintiff,

   vs.

   UZZI AMPHIBIOUS GEAR, LLC,
   a Florida Limited Liability Company,

                  Defendant.
                                          /

                               JOINT NOTICE OF SETTLEMENT

                 Plaintiff, Nelson Fernandez (“Plaintiff”), and Defendant, UZZI AMPHIBIOUS

  GEAR, LLC (“Defendant”), (collectively the “Parties”), hereby advise the Court that the Parties

  have reached an agreement to settle this case pending execution of a settlement agreement. The

  Parties will file appropriate documents to close the case once the settlement agreement is executed,

  which they reasonably expect to do no later than 30 days from the date of this Notice. Accordingly,

  the Parties respectfully request that the Court stay or set aside all currently set deadlines pending

  finalization of settlement documents.



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  Dated August 16, 2021

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